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              UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION
                                1:20-cv-02131-SEG
                          Senator-Rudat v. Southard et al
                           Honorable Sarah E. Geraghty


              Minute Sheet for proceedings held In Chambers on 08/29/2022.

TIME COURT COMMENCED: 10:30 A.M.
TIME COURT CONCLUDED: 10:46 A.M.                  COURT REPORTER: Denise Stewart
TIME IN COURT: 00:16                              DEPUTY CLERK: Stephanie Pittman
OFFICE LOCATION: Atlanta

ATTORNEYS             J. Hopkins representing CarolAnn Senator-Rudat
PRESENT:              Rebecca McLaws representing Auto Memories Classic Cars, LLC
                      Rebecca McLaws representing James Southard
                      Rebecca McLaws representing Steve Southard
PROCEEDING
                      Telephone Conference (Other Proceeding Non-evidentiary)
CATEGORY:
MINUTE TEXT:    After hearing from the parties concerning Defendant James Southard’s
                filing of bankruptcy, the Court cancelled the September 8th evidentiary
                hearing on Plaintiff’s renewed motion for default judgment (Doc. 41).
                Order to follow.
HEARING STATUS: Hearing Concluded
